Case 8:21-cr-00348-GJH Document16 Filed 10/12/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

United States of America, *
*
v. Case No, 8:21-cr-00348
*
Brian McQuade
Defendant. *

ENTRY OF APPEARANCE IN A CRIMINAL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

Enter my appearance as counsel in this case for the defendant, _Brian McQuade

I certify that: [check and complete one that applies]

X] I am admitted to practice in this Court.

LJ Iam a member in good standing of the bar of the highest state court of

 

and familiar with the Federal Rules of Criminal Procedure, the Federal Rules of

Evidence, the Federal Rules of Appellate Procedure and the Local Rules of this

Court. Ny
October 12, 2021

Date ignature

e

David Schertler, 15437
Printed name and bar number

Schertler Onorato Mead & Sears, LLP
901 New York Ave., NW, Suite 500 West

Washington, DC 20001
Address

—S

 

dschertler@schertlerlaw.com
Email address

 

202-628-4199
Telephone number

 

202-628-4177
Fax number

 

EntryofAppearanceCriminal (04/2014) “ Page 1 of 2
Case 8:21-cr-00348-GJH Document16 Filed 10/12/21 Page 2 of 2

Please select your designation:

FH] CIA [4 Retained L] Public Defender [1 Pro Bono

NOTE: Appearance of counsel may be withdrawn only with leave of Court. See Local Rule
201.3. Such leave is liberally granted if sought within 14 days of the defendant’s
initial appearance in this Court.

 

 

If you are not a member of this Court’s bar, email your completed form to
MDD._AttyAdmissions@mdd.uscourts.gov. Otherwise, please enter your own appearance in this
case in CM/ECF using the event Notice of Appearance.

 

EntryofAppearanceCriminal (04/2014) Page 2 of 2

 
